Case 4:21-cv-01991 Document 39 Filed on 01/12/22 in TXSD Page 1 of 1
                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        January 12, 2022
                                                                       Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

      MORTEZA NAGHAVI,            §   CIVIL ACTION NO.
               Plaintiff,         §   4:21-cv-01991
                                  §
                                  §
             vs.                  §   JUDGE CHARLES ESKRIDGE
                                  §
                                  §
      EDGEFIELD                   §
      HOLDINGS LLC,               §
          Defendant.              §

                                ORDER

           Defendant and Counter Claimant Edgefield Holdings
       LLC has moved for sanctions, to strike, and for entry of
       default. Dkts 24 & 29. Plaintiff and Counter Defendant
       Morteza Naghavi responded with motions to remand and
       abstain, for leave to file answers, and for judgment on the
       pleadings. Dkts 28, 35, & 37.
           A motion hearing by videoconference is now SET in this
       matter for Thursday, January 20, 2022, at 9:30 AM.
           SO ORDERED.

          Signed on January 12, 2022, at Houston, Texas.




                                 Hon. Charles Eskridge
                                 United States District Judge
